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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                             CR 13–63–GF–DLC
                      Plaintiff,
                                                              ORDER
        vs.


 JOHN OWEN HOBBS, JR.,


                      Defendant.



      United States Magistrate Judge Keith Strong entered Findings and

Recommendation in this matter on November 14, 2013. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

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      Judge Strong recommended this Court accept John Owen Hobbs, Jr.’s guilty

plea after Hobbs appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to the charge of Theft from an Indian

Tribal Organization and aiding and abetting, as set forth in the Indictment.

      I find no clear error in Judge Strong’s Findings and Recommendation (Doc.

56), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that John Owen Hobbs, Jr.’s motion to

change plea (Doc. 47) is GRANTED.

      DATED this 9th day of December, 2013.




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